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                        California; Harry E. Hagen, as Treasurer-Tax
                    8   Collector of the County of Santa Barbara,
                        California; and Santa Barbara County Air
                    9   Pollution Control District
                  10
                                                           UNITED STATES BANKRUPTCY COURT
                  11                                        CENTRAL DISTRICT OF CALIFORNIA
                                                               SANTA BARBARA DIVISION
                  12
                  13    In re:                                                      Case No.: 9:19-bk-11573-MB
                  14
                        HVI Cat Canyon, Inc.,                                       Chapter 11
                  15
                                                     Debtor.                        SANTA BARBARA COUNTY AIR
                  16                                                                POLLUTION CONTROL DISTRICT,
                                                                                    COUNTY OF SANTA BARBARA, AND
                  17                                                                HARRY E. HAGEN, TREASURER-TAX
                                                                                    COLLECTORS’ MOTION FOR
                  18                                                                CORRECTION OR RECONSIDERATION
                                                                                    OF INTERIM ORDER
                  19
                  20                                                                Date: December 20, 2019
                  21
                                                                                    Time: 10:00 a.m.
                                                                                    Place: Courtroom 201
                  22                                                                       1415 State Street
                  23                                                                       Santa Barbara, California

                  24                                                                Judge: Hon. Martin R. Barash
                  25
                  26
                  27
                  28

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                    1   TO THE HONORABLE MARTIN R. BARASH, UNITED STATES
                    2
                        BANKRUPTCY JUDGE, AND ALL INTERESTED PARTIES:
                    3
                    4                The Santa Barbara County Air Pollution Control District, the County of Santa

                    5   Barbara, and Harry E. Hagen, Treasurer-Tax Collector of the County of Santa Barbara1
                    6
                        (“Hagen-Tax Collector”) move for correction or reconsideration of this Court’s
                    7
                        November 18, 2019 interim order [ECF No. 524] and respectfully state as follows:
                    8
                    9                1.              On November 7, 2019, the Trustee filed his Emergency Motion for an Order:
                  10
                        (1) Authorizing the Trustee to Obtain Secured Priming Superpriority Financing; (2) Authorizing the
                  11
                        Continued Use of Cash Collateral; (3) Scheduling a Final Hearing; and (4) Granting Related Relief
                  12
                  13    [ECF No. 474] (the “Motion”) for authorization to obtain post-petition financing from
                  14    UBS AG, Stamford Branch (“UBS AG, Stamford Branch”) and continue to use the Cash
                  15
                        Collateral of UBS AG, London Branch.
                  16
                  17                 2.              On November 8, 2019, the Court conducted an initial interim hearing on
                  18    the Motion and drafted and signed the Interim Order on Trustee’s Emergency Motion for an
                  19
                        Order: (1) Authorizing the Trustee to Obtain Secured Priming Superpriority Financing; (2)
                  20
                  21    Authorizing Continued Use of Cash Collateral; (3) Scheduling a Final Hearing; and (4) Granting

                  22    Related Relief [ECF No. 480] (the “First Interim Order”), authorizing up to $267,317
                  23
                        borrowings through a further interim hearing on November 12, 2019.
                  24
                  25
                  26
                  27
                                 Hagen, Treasurer-Tax Collector does not submit to the jurisdiction of this Court for
                                     1
                  28    determination of the Debtor’s tax liabilities.

                                                                                 2
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                    1                3.              The Court’s First Interim Order stated, in relevant part, that “To secure the
                    2
                        Subject Indebtedness, UBS shall be given a priming lien in first position on all assets of
                    3
                    4
                        the estate, but not ahead of liens securing ad valorem taxes on the real property of

                    5   the estate. Said lien shall not encumber avoiding power claims or proceeds thereof.”
                    6
                        First Interim Order at ¶ 3 (emphasis added). UBS AG, Stamford Branch and the Trustee
                    7
                        represent that, on Friday, November 9, 2019, after entry of the First Interim Order, an
                    8
                    9   advance of $197,516 was made to the Trustee pursuant to the First Interim Order.
                  10                 4.              On November 12, 2019, the Court conducted a second interim hearing,
                  11
                        and on November 18, 2019, the Court signed the Second Interim Order on Trustee’s Emergency
                  12
                  13    Motion for an Order: (1) Authorizing the Trustee to Obtain Secured Priming Superpriority Financing;
                  14    (2) Authorizing Continued Use of Cash Collateral; (3) Scheduling a Final Hearing; and (4) Granting
                  15
                        Related Relief [ECF No. 524] (the “Second Interim Order”). At the § 341(a) meeting on
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                  17    the morning of November 21, 2019, the Trustee and his financial advisor testified that
                  18    UBS AG, Stamford Branch advanced over $990,000 to the Trustee on November 20 or
                  19
                        21, 2019 pursuant to the Second Interim Order.
                  20
                  21                 5.              On November 21, 2019, the Court conducted the final hearing on the

                  22    Motion and authorized post-petition financing on a final basis but refused UBS’s request
                  23
                        for a priming lien over Hagen-Tax Collector’s lien, finding the grant of such a priming
                  24
                  25
                        lien at the time of the Second Interim Order had been in error. At the conclusion of the

                  26    hearing, UBS argued that both the amount advanced under the First Interim Order and
                  27
                        the amount advanced under the Second Interim Order are secured by a lien that primes
                  28

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                    1   the lien of Hagen-Tax Collector. Hagen-Tax Collector disputed that assertion because
                    2
                        the Court was clear at the first interim hearing and in the First Interim Order that any
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                    4
                        advance under the First Interim Order would not prime the tax lien.

                    5                6.              Hagen-Tax Collector requests that the Court modify and correct any
                    6
                        language in the Second Interim Order that is contrary to the Interim Order with respect
                    7
                        to priming the Hagen-Tax Collector’s lien. UBS AG, Stamford Branch did not cite to
                    8
                    9   any particular language in the Second Interim Order for its assertion of a priming lien
                  10    for the advance under the First Interim Order. The only reference to that first advance
                  11
                        is in the following sentence in paragraph 7 on page 5 of the Second Interim Order: “All
                  12
                  13    advances provided by UBS AG, Stamford Branch under the Facility, including the
                  14    $197,516 advanced by UBS AG, Stamford Branch on an emergency basis pursuant to
                  15
                        the [First] Interim Order, shall be subject to the terms of this Order.” This does not state
                  16
                  17    that UBS AG, Stamford Branch is being granted a priming lien for the $197,516 advance,
                  18    and that would be directly contrary to the language in the First Interim Order which was
                  19
                        drafted by the Court. In that First Interim Order, the Court clearly stated that “UBS shall
                  20
                  21    be given a priming lien in first position on all assets of the estate, but not ahead of liens

                  22    securing ad valorem taxes on the real property of the estate.” First Interim Order at
                  23
                        ¶ 3 (emphasis added). The Second Interim Order does not purport to vacate, modify or
                  24
                        subsume the First Interim Order, and UBS AG, Stamford Branch should not be
                  25
                  26    permitted to use it in that way.
                  27
                  28

                                                                                4
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                    1                7.              The Court should make clear that the Second Interim Order does not grant
                    2
                        UBS AG, Stamford Branch a priming lien over Hagen-Tax Collector’s lien for the
                    3
                    4
                        advance made under the First Interim Order. The Court has inherent power to do so.

                    5   Zurich Am. Ins. Co. v. Int’l Fibercom, Inc. (In re Int’l Fibercom, Inc.), 503 F.3d 933, 940 (9th Cir.
                    6
                        2007)(“bankruptcy courts, as courts of equity, have the power to reconsider, modify or
                    7
                        vacate their previous orders so long as no intervening rights have become vested in
                    8
                    9   reliance on the orders.); In re Lenox, 902 F.2d 737, 739-740 (9th Cir. 1990”)(same); see also
                  10    Credit Suisse First Boston Corp. v. Grunwald, 400 F.3d, 1119, (9th Cir. 2005)(a court “always
                  11
                        has power to modify or to overturn an interlocutory order or decision while it remains
                  12
                  13    interlocutory.”); Dye v. Sachs (In re Flashcom, Inc.), 2014 Bankr. LEXIS 4215 *21-22 (9th Cir.
                  14    B.A.P. 2014)(“bankruptcy courts have inherent equitable authority to modify or vacate
                  15
                        compromise stipulations if circumstances so justify.”); Balla v. Idaho State Bd. Of Corrections,
                  16
                  17    869 F.2d 461, 465 (9th Cir. 1989)(Court have inherent power to modify their interlocutory
                  18    orders, also citing Fed. R. Civ. P. 54(b)). The bankruptcy court’s power to reconsider,
                  19
                        modify or vacate previous orders is established by § 105(a) of the Bankruptcy Code,
                  20
                  21    which provides that a bankruptcy court may, “sua sponte tak[e] any action or mak[e] any

                  22    determination necessary or appropriate to enforce or implement court orders or rules, or
                  23
                        to prevent an abuse of process.” In re Int’l Fibercom, Inc., 503 F3d at 940.
                  24
                  25
                                     8.              Use of the inherent power to modify prior orders is especially appropriate

                  26    where there has been an error. See Heritage Pac. Fin., LLC v. Edgar (In re Montano), 501
                  27
                        B.R. 96, 113-14 (9th Cir. B.A.P. 2013)(“Simply put, a trial court’s concession that it erred
                  28

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                    1   in an earlier order requires that court to set aside the order and reconsider the parties’
                    2
                        arguments…The bankruptcy court did not abuse its discretion in reconsidering an order
                    3
                    4
                        that it conceded was entered in error.”).

                    5                9.              UBS AG Stamford Branch cannot argue that the $197,516 it advanced
                    6
                        pursuant to the First Interim Order was in reliance on the Second Interim Order, which
                    7
                        did not exist at the time of the advance. No intervening right became vested as a result
                    8
                    9   of the Second Interim Order other than the second advance made after that order and
                  10    before the Court’s ruling at the final hearing. Section 364(e) could only be urged by UBS
                  11
                        Stamford Branch to protect the advance it made after the Second Interim Order, not the
                  12
                  13    advance it made pursuant to the First Interim Order.
                  14                 WHEREFORE, PREMISES CONSIDERED, the Court should order that the
                  15
                        Second Interim Order does not give UBS any priming lien over the Hagen-Tax Collector
                  16
                  17    lien for the $197,516 advanced pursuant to the First Interim Order or any amounts other
                  18    than the advance made after the Second Interim Order and before the November 21
                  19
                        final hearing, and the Court should grant such other relief to which the movants are
                  20
                  21    entitled. A proposed form of order is attached as Exhibit 1.

                  22    Dated: November 26, 2019                              SNOW SPENCE GREEN LLP
                  23
                                                                              By:   /s/ Ross Spence
                  24                                                                Ross Spence
                  25
                                                                              Attorneys for the County of Santa Barbara,
                  26                                                          California; Harry E. Hagen, as Treasurer-
                  27                                                          Tax Collector of the County of Santa
                                                                              Barbara, California; and Santa Barbara Air
                  28                                                          Pollution Control District
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